     Case 2:07-cr-00282-WKW-CSC Document 235 Filed 06/20/08 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION


UNITED STATES OF AMERICA,                   )
                                            )
      v.                                    )   CR. NO. 2:07cr282-WKW
                                            )
PATRICK WAYNE DISMUKES                      )

                                         ORDER

      On June 3, 2008, the Magistrate Judge filed a Recommendation (Doc. # 214) in this

case to which no timely objections have been filed. Upon an independent review of the file

in this case and upon consideration of the Recommendation of the Magistrate Judge, it is

ORDERED that:

      1.     The Recommendation (Doc. # 214) is ADOPTED; and

      2.     The Motion to Suppress (Doc. # 197) is DENIED.

      Done this 20th day of June 2008.

                                      /s/ W. Keith Watkins
                                  UNITED STATES DISTRICT JUDGE
